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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         :
                                                 :
v.                                               :    Criminal No. RDB-14-0186
                                                 :
RICHARD C. BYRD,                                 :
  Defendant.                                     :


                                      MOTION TO SEAL

       Richard C. Byrd, by and through undersigned counsel, hereby respectfully moves this

Court for leave to file under seal Mr. Byrd’s Memorandum. Sealing the Memorandum is warranted

for the reasons set forth in the underlying Motion.

       WHEREFORE, Mr. Byrd requests that the Court grant this Motion and place the

Memorandum under seal.



                                                      Respectfully submitted,
                                                      GREENBERG TRAURIG, LLP
                                                      /s/ Michael R. Sklaire
                                                      Michael R. Sklaire
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion was served this 10th day of January,

2022, via CM/ECF on all parties.


                                                    /s/ Michael R. Sklaire
                                                    Michael R. Sklaire

                                                    Attorney for Richard C. Byrd
